  Case: 1:21-cv-00135 Document #: 647 Filed: 05/12/25 Page 1 of 36 PageID #:12217



                            UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

                                                   )
In re Clearview AI, Inc., Consumer Privacy         )       Case No. 21-cv-00135
Litigation,                                        )
                                                   )       Judge Sharon Johnson Coleman
                                                   )


                           MEMORANDUM OPINION AND ORDER

        After over five years of litigation, before the Court is Plaintiffs’ motion for final approval of a

class action settlement in the multidistrict litigation against Clearview AI, Inc. for its collection, storage,

and use of biometric face images the company scraped from the internet without consent. This class

action settlement agreement and release is entered into by Plaintiffs Rodell Sanders, Gerard Dache,

Eric Gould and Jordan Orlando (collectively “Plaintiffs”), individually and on behalf of all others

similarly situated (the “Settlement Class” or “Class Members”). The Settlement Class is further

divided into a Nationwide Class, an Illinois Subclass, a California Subclass, a New York Subclass, and

a Virginia Subclass. Plaintiffs and the Settlement Class are represented by Loevy & Loevy (“Lead

Class Counsel”).

        Included as parties to the agreement are the following Defendants: Clearview AI, Inc.

(“Clearview”), Clearview co-founders Hoan Ton-That and Richard Schwartz, Clearview affiliate

Rocky Mountain Data Analytics LLC (“Rocky Mountain”), and Clearview General Counsel Thomas

Mulcaire (collectively, the “Clearview Defendants”); and Macy’s, Inc., Macy’s Retail Holdings, Inc.

(n/k/a Macy’s Retail Holdings, LLC), and Macy’s Corporate Services, Inc (n/k/a Macy’s Corporate

Services, LLC) (collectively, the “Macy’s Defendants” or “Macy’s”).

        For the following reasons, the Court grants the motion for final approval of the settlement.




                                                       1
    Case: 1:21-cv-00135 Document #: 647 Filed: 05/12/25 Page 2 of 36 PageID #:12218



Background

      A. Biometrics and the launch of multidistrict litigation

         This litigation concerns the collection, storage, and use of biometric data. “Biometrics” refers

to the automated recognition of individuals based on their biological and behavioral characteristics. 1

While the average person may not be familiar with the term, they likely are familiar with common

biometric characteristics: fingerprints, DNA, voice, and, at issue here, face geometry. 2 Face biometrics

use aspects of a person’s face geometry, such as the eyes, nose, or mouth, to create a unique face

image. Once captured, this face image can be stored and used to identify that individual through a

variety of facial recognition applications, such as unlocking a smartphone, finding missing persons,

and identifying criminal suspects.

         The identification power of face images, combined with the ubiquity of facial capture and

recognition platforms in the modern digital era, makes this biometric characteristic both incredibly

powerful and highly susceptible to misuse. Seeing an opportunity in the proliferation of face images

on the internet, in 2017, Hoan Ton-That and Richard Schwartz founded Clearview AI, Inc. Using a

proprietary tool, the start-up assembled a massive biometric database of individuals by “scraping”

their photos from publicly available websites and collecting their biometric facial geometry. With this

database, Clearview customers—primarily federal and state law enforcement agencies and private

retailers—seeking to identify an individual could upload an image of the person in question to

Clearview’s platform. Using its facial recognition software, Clearview would then compare the

uploaded image to those in its database to locate other images of the individual in question, enabling

the customer to identify the individual.



1  “Information technology—Vocabulary—Part 37: Biometrics,” THE INTERNATIONAL ORGANIZATION FOR
STANDARDIZATION, https://www.iso.org/obp/ui/#iso:std:iso-iec:2382:-37:ed-3:v1:en (last accessed Mar. 18, 2025).
2 “Types of Biometrics,” BIOMETRICS INSTITUTE, https://www.biometricsinstitute.org/what-is-biometrics/types-of-

biometrics/ (last accessed Mar. 18, 2025).

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    Case: 1:21-cv-00135 Document #: 647 Filed: 05/12/25 Page 3 of 36 PageID #:12219



        Through its internet scraping efforts, Clearview’s database quickly grew to a staggering three

billion images. In early 2020, the New York Times published a story titled “The Secretive Company

that Might End Privacy as We Know It” describing Clearview’s growing law enforcement and

commercial retail clientele and the erosion of privacy signaled by the increasing use of facial

recognition technology by private and government entities. 3 The article sparked a flurry of class action

lawsuits in both federal and state court. The first federal court case was filed before this Court on

January 22, 2020 by Lead Class Counsel. Then on May 28, 2020, the ACLU filed a complaint against

Clearview in the Circuit Court of Cook County seeking injunctive relief for violation of the Illinois

Biometric Information Privacy Act (BIPA). American Civil Liberties Union, et al. v. Clearview AI, Inc.,

Cook Cnty. Cir. Ct. No. 2020 CH 04353.

        On August 18, 2020, Clearview moved to consolidate the existing actions into a multidistrict

litigation (MDL) pursuant to 28 U.S.C. § 1407. In re Clearview AI, Inc. Privacy Litigation, MDL No. 2967.

On January 8, 2021, the Judicial Panel on Multidistrict Litigation (JPML) issued a transfer order

consolidating nine of the pending actions before the Court. The JPML would later order two

additional cases be transferred to the MDL on June 21, 2021, bringing the total number of

consolidated cases, which originated from four different districts, to eleven.

        On April 9, 2021, Plaintiffs filed a consolidated class action complaint. (Dkt. 29.) That same

day, Plaintiffs moved for a preliminary injunction that sought to enjoin Clearview from continuing to

possess, collect, profit from, and distribute Illinois residents’ biometric data. (Dkt. 31.) After a raft

of briefing, on June 4, 2021, the parties entered into a joint stipulation under which Clearview would

cease certain allegedly BIPA-violating practices, namely distributing, redistributing, transferring or




3  Kashmir Hill, The Secretive Company that Might End Privacy as We Know It, N.Y. TIMES (Jan. 18, 2020),
https://www.nytimes.com/2020/01/18/technology/clearview-privacy-facial-recognition.html.

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  Case: 1:21-cv-00135 Document #: 647 Filed: 05/12/25 Page 4 of 36 PageID #:12220



otherwise disseminating to any entity or person the biometric identifiers of any Illinois plaintiff or

Illinois resident. (Dkt. 97.)

    B. Plaintiffs’ claims

        On June 29, 2021, following the JPML’s second and last consolidation order, Plaintiffs filed

their first amended consolidated class action complaint on behalf of a nationwide class and Illinois,

California, New York, and Virginia subclasses. The complaint named as defendants Clearview, its co-

founders Hoan Ton-That and Richard Schwartz, Clearview’s affiliate Rocky Mountain, and

Clearview’s general counsel, Thomas Mulcaire. The complaint also named Macy’s, Inc. as a defendant,

individually and on behalf of a defendant class comprised of private entities who had used Clearview

for security purposes.

        In their complaint, Plaintiffs: alleged violations of (1) BIPA, 740 ILCS § 14/15(b) (c) (d) and

(e); (2) Viginia statutes addressing the unauthorized use of names or pictures, Va. CODE §§ 8.01-40,

and the Virginia Computer Crimes Act, Va. CODE § 18.2-152.1, et seq.; (3) California’s Unfair

Competition Law, Cal. Bus. & Prof. Code § 17200 et seq., California’s Commercial Misappropriation

statute, Cal. Civ. Code § 3344(A), California common law protections for the right of publicity, and

the California state constitution’s protections against invasion of privacy; and (4) New York’s civil

rights protections against invasion of privacy, N.Y. CIV. RIGHTS LAW §§ 50–51; and (5) brought

an unjust enrichment claim and sought judgment under the federal Declaratory Judgment Act, 28

U.S.C. § 2201, et seq. (Dkt. 116.)

            1. Illinois Subclass claims

        The first seven counts were brought by the plaintiff from Illinois on behalf of the Illinois

subclass for violation by Defendants of several provisions of the Illinois Biometric Information

Privacy Act. 740 ILCS § 14/1 et seq. BIPA was enacted in 2008 in response to the growing use of


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 Case: 1:21-cv-00135 Document #: 647 Filed: 05/12/25 Page 5 of 36 PageID #:12221



biometrics in the business and security screening sectors and the corresponding need to ensure that

biometric information is properly collected, stored, and distributed. 740 ILCS § 14/5. To accomplish

this goal, § 14/15 prescribes a range of requirements for the retention, collection, disclosure, and

destruction of biometric information by private entities:

           •   Section 14/15(b) prohibits private entities from collecting, capturing, purchasing,

               receiving through trade, or otherwise obtaining an individual’s biometric information

               without their written consent;

           •   Section 14/15(c) prohibits private entities in possession of an individual’s biometric

               information from selling, leasing, trading, or otherwise profiting from that biometric

               information;

           •   Section 14/15(d) prohibits private entities in possession of an individual’s biometric

               information from disclosing, redisclosing, or otherwise disseminating this information

               unless: (1) the entity has the individual’s consent; (2) the disclosure or redisclosure

               completes a financial transaction requested by the individual; (3) disclosure or

               redisclosure is required by state or federal law or municipal ordinance; or (4) the

               disclosure is pursuant to a valid warrant or subpoena;

           •   Section 14/15(e) requires a private entity to store, transmit, and protect biometric

               information using the reasonable standard of care and in a manner in which it stores

               other confidential and sensitive information.

       In addition to these prohibitions, § 14/20 provides individuals with a right of action to seek

the following forms of relief against entities that violate the statute’s provisions: the greater of

liquidated damages of $1,000 or actual damages for negligent violation; the greater of liquidated




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  Case: 1:21-cv-00135 Document #: 647 Filed: 05/12/25 Page 6 of 36 PageID #:12222



damages of $5,000 or actual damages for intentional or reckless violation; reasonable attorneys’ fees

and costs; and other relief, including injunctive relief. 4

              2. Virginia Subclass claims

         The next two counts were brought by the plaintiff from Virginia on behalf of the Virginia

subclass for violation by Defendants of two statutes addressing the unauthorized use of names or

pictures: Va. CODE §§ 8.01-40 and the Virginia Computer Crimes Act, Va. CODE § 18.2-152.1, et

seq. Section 8.01-40 permits an individual to seek injunctive relief and punitive damages against a

person, firm, or corporation that uses her name, portrait, or picture without her written consent.

Section 18.2-152.1 permits an individual “injured by . . . any act of computer trespass” to sue for

damages sustained by the trespass and the costs of the suit. Under the statute, acts of computer

trespass include fraud, trespass, invasion of privacy, and gathering personal information through

deception.

              3. California Subclass claims

         Four counts were brought by the plaintiff from California on behalf of the California subclass

for violation of California law. The first count sought restitution and disgorgement and injunctive

relief under California’s Unfair Competition Law (Cal. Bus. & Prof. Code § 17200). The second

sought damages under California Civil Code § 3344(a) for commercial misappropriation, which

provides the greater of statutory damages for up to $750 or actual damages for the use of one’s

photograph or likeness without consent. The third count sought damages and injunctive relief for

violation of the California common law right of publicity, which protects persons from the




4 As noted by Plaintiffs in their motion for final approval, the Illinois Supreme Court has yet to resolve the question of

whether statutory damages under BIPA are mandatory or discretionary. See Cothron v. White Castle Sys., Inc., 2023 IL 128004,
216 N.E.3d 918, 929 as modified on denial of reh’g (July 18, 2023) (inviting the state legislature to “make clear its intent
regarding the assessment of damages under [BIPA]”).

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  Case: 1:21-cv-00135 Document #: 647 Filed: 05/12/25 Page 7 of 36 PageID #:12223



unauthorized use of a person’s identity by another for commercial gain. The fourth and final count

sought damages and injunctive relief for intrusion of the state’s constitutional right to privacy.

            4. New York Subclass claim

        One sole count was brought by the plaintiff from New York on behalf of the New York

subclass for violation of New York Civil Rights Law §§ 50–51. Section 50 provides for a right of

privacy and publicity and establishes the use of a person’s name, portrait, picture, likeness, or voice

without written consent as a misdemeanor. Section 51 enables a person to seek actual damages and

injunctive relief for violation of these rights.

            5. Nationwide Class claims

        The final two counts were brought on behalf of all plaintiffs and the Settlement Class. The

first sought an order compelling Defendants to disgorge into a common fund or constructive trust

“proceeds that they unjustly received from the sale, lease, trade, distribution, dissemination and use of

the personal information” under a theory of unjust enrichment. The second—and sixteenth total—

count sought judgment under the federal Declaratory Judgment Act, 28 U.S.C. § 2201, et seq., declaring

that Defendants were in violation of the common law and statutory claims brought under the

complaint and requesting the issuance of a nationwide injunction preventing Clearview from

continuing to engage in the unlawful conduct alleged in the complaint.

    C. Settlement negotiations

        The Court, with the support of Magistrate Judge Valdez, oversaw and adjudicated several

motions for reconsideration, interlocutory appeal, and discovery disputes throughout the litigation.

But the scale of Clearview’s activities combined with the early-stage nature of the company presented

a challenge for both parties. As of October 29, 2021, Clearview’s database contained approximately

ten billion images, creating a class that encompassed virtually any individual whose face had been


                                                   7
    Case: 1:21-cv-00135 Document #: 647 Filed: 05/12/25 Page 8 of 36 PageID #:12224



posted on the internet prior to and during the period of Clearview’s operation. But as a start-up,

Clearview was financially dependent on capital from investors and government contracts that had

dried up during the litigation. The cost of trial and a multi-million-dollar judgment would likely lead

to the company’s bankruptcy, foreclosing the possibility of meaningful monetary relief for the class.

Additionally, in May 2022, Clearview entered into a settlement with the ACLU in its case in Illinois

state court, a development that significantly impacted the relief possible in the MDL. 5

        In light of these challenges, in mid-2022 the parties engaged the Honorable Wayne Andersen

(ret.) to mediate settlement discussions. As explained by Judge Andersen in his report supporting the

preliminary approval of the settlement, the parties discussed a range of issues in-depth during these

discussions, including: (1) the facts surrounding Clearview’s data scraping and database of facial

images; (2) the size of Clearview’s potential liability under BIPA and recent BIPA decisions; (3)

Clearview’s defenses to the Settlement Class’s claims under BIPA; (4) Clearview’s arguments as to the

territorial limitation of BIPA as applied to non-Illinois residents; (5) the strength of and defenses to

the subclass claims brought under Virginia, California, and New York law, as well as the strength of

and defenses to the nationwide class claims; and (6) claims against Macy’s and the vendor defendant

class, including the scope and extent of any use by vendors of the information from the Clearview

database. (Dkt. 578, Ex. B.) The parties also discussed Clearview’s inability to pay the significant

judgment expected from a loss in litigation, supported by extensive information provided by Clearview

as to its financial condition. (Id.) Ultimately, these 2022 discussions did not lead to a settlement, as

Plaintiffs insisted on receiving a substantial payment from Clearview, along with other forms of

possible relief, that Clearview believed it could not provide.




5 American Civil Liberties Union, et al. v. Clearview AI, Inc., Cook Cnty. Cir. Ct. No. 2020 CH 04353, available at
https://www.aclu.org/cases/aclu-v-clearview-ai?document=Exhibit-2-Signed-Settlement-Agreement#legal-documents
(hereinafter “ACLU Settlement Agreement”).

                                                        8
  Case: 1:21-cv-00135 Document #: 647 Filed: 05/12/25 Page 9 of 36 PageID #:12225



        Undeterred, in February 2023, the parties once again engaged Judge Andersen to resume

mediation. This time, the parties agreed from the outset that any viable class action settlement would

need to include the Settlement Class receiving a meaningful equity stake in Clearview, as Clearview

continued to maintain that it could not afford a payment large enough to serve as the basis for a

settlement with a class of this size. (Id.) The need for an equity stake was further necessitated by the

fact that in the event of a Clearview bankruptcy, several security interests held priority to any claim by

the Settlement Class after judgment, which would leave little monetary relief for the Settlement Class

to recoup. (Id.)

        After over six months of negotiations, the parties landed on a settlement agreement providing

the Settlement Class with payout from a 23% equity stake in Clearview. (Id.) This equity percentage

represents the outcome of a delicate balancing act by the parties. Too large a percentage ran the risk

of preventing Clearview from attracting the investors necessary for the start-up to grow and provide

relief to the Settlement Class. But too small a percentage would not have been commensurate with

the injuries of the Settlement Class and the zealous advocacy of their claims by Lead Class Counsel.

This pursuit of a Goldilocks percentage was also shadowed by the numerous appellate issues that

could be raised by both sides, further risking a prolonged litigation and the provision of any monetary

relief for the Settlement Class.

    D. Proposed settlement agreement

        On June 12, 2024, the parties filed a joint motion for preliminary approval of the settlement

agreement. In exchange for a release of liability from the Settlement Class’s claims, the settlement

provides the following relief.




                                                    9
 Case: 1:21-cv-00135 Document #: 647 Filed: 05/12/25 Page 10 of 36 PageID #:12226



           1. Establishment of a nationwide settlement class and state subclasses

       The settlement establishes four state subclasses (Illinois, California, New York, and Virginia)

and one nationwide class consisting of the following:

           •   The Nationwide Class: All individuals who resided in the United States of America

               between July 1, 2017, and the date of Preliminary Approval, and whose facial images,

               facial vector data, and/or biometric data are or were contained in the biometric

               database;

           •   The Illinois Subclass: All individuals who resided in the state of Illinois between July

               1, 2017, and the date of Preliminary Approval, and whose facial images, facial vector

               data, and/or biometric data are or were contained in the biometric database;

           •   The California Subclass: All individuals who resided in the state of California

               between July 1, 2017, and the date of Preliminary Approval, and whose facial images,

               facial vector data, and/or biometric data are or were contained in the biometric

               database;

           •   The New York Subclass: All individuals who resided in the state of New York

               between July 1, 2017, and the date of Preliminary Approval, and whose facial images,

               facial vector data, and/or biometric data are or were contained in the biometric

               database; and

           •   The Virginia Subclass: All individuals who resided in the state of Virginia between

               July 1, 2017, and the date of Preliminary Approval, and whose facial images, facial

               vector data, and/or biometric data are or were contained in the biometric database.




                                                      10
 Case: 1:21-cv-00135 Document #: 647 Filed: 05/12/25 Page 11 of 36 PageID #:12227



            2. Monetary relief

        As monetary relief, the settlement creates a Settlement Fund for the benefit of the Nationwide

Class and the subclasses based upon a Settlement Stake—a monetary amount equal to a 23% equity

stake in Clearview as of September 6, 2023. As of January 2024, Clearview’s value was estimated to

be approximately $225 million dollars, making the Settlement Stake worth $51.75 million dollars.

(Dkt. 621.) The Fund will be funded and paid by the triggering of one of four events:

            1) the occurrence of an IPO;

            2) the occurrence of a liquidation event, such as a merger or consolidation or sale of all

                or substantially all of Clearview’s assets;

            3) a payment by Clearview of an amount equal to 17% of Clearview’s GAAP recognized

                revenue for the period commencing on the date of final settlement approval and

                ending with the election of this option, which expires on September 30, 2027; or

            4) the amount the Settlement Class will receive if it elects to sell its right to receive the

                Settlement Stake payment.

        The Settlement Class can pick whichever relief seems the most advantageous as events play

out for Clearview in the future. To exercise this right and to protect the interests of the Settlement

Class, the settlement appoints a Settlement Master with the right: (1) to, upon reasonable notice,

inspect Clearview’s books and records, (2) to request and receive biannual interviews with Clearview’s

management team, and (3) to receive information regarding the price and terms of any secondary sales

of Clearview stock. In addition to holding the 23% stake until a triggering event, the Settlement Master

also has the authority to sell the Settlement Class’s rights to a third-party (immediately distributing the

proceeds to the Settlement Fund) if he deems it in the Settlement Class’s best interests.




                                                    11
 Case: 1:21-cv-00135 Document #: 647 Filed: 05/12/25 Page 12 of 36 PageID #:12228



        Irrespective of the method of funding, the Settlement Fund serves as the source of all

attorneys’ fees (39.1% of the Settlement Fund) and incentive payments to Plaintiffs (equal to fifty pro

rata shares of the net Settlement Fund, with a cap of $1,500). After these payments have been made,

the remainder will be distributed to Settlement Class members who submit an approved claim. These

shares are distributed pro rata based on each claimant’s state of residence and the relative strength of

each claim brought under the complaint. Approved claimants who resided in Illinois during the

relevant time period will be entitled to ten shares of the Settlement Fund, while those who resided in

California, New York or Virginia will be entitled to five shares. Claimants who did not reside in any

of the four subclass states will be entitled to one share of the Settlement Fund.

        After evaluating the fairness, adequacy, and reasonableness of the settlement agreement, the

Court entered a preliminary approval of the settlement on June 21, 2024. (Dkt. 580.) The Court made

three principal findings in its preliminary approval: that (1) there was good cause to believe that the

settlement is fair, reasonable, and adequate; (2) the settlement had been negotiated at arm’s length

over several months between experienced attorneys familiar with the legal and factual issues of the

case and was reached with the assistance of Magistrate Judge Valdez and mediation by Judge Andersen;

and (3) the settlement provided a plan for providing notice of its material terms to the Settlement

Class for their consideration and reaction. (Id.) The settlement also set a deadline of September 20,

2024, for the filing of any objections to the settlement or requests for exclusion.

    E. Notice plan, submission of objections, and the final approval hearing

        Following the Court’s preliminary approval of the settlement, the parties proceeded with the

notice plan developed by the settlement administrator, Epiq Class Action and Claims Solutions, Inc.

(“Epiq”). See generally Dkt. 621, Ex. B. Per the Court’s preliminary approval order, the notice period

began on July 25, 2024, and concluded on October 25, 2024, the date by which all claims were due.



                                                       12
 Case: 1:21-cv-00135 Document #: 647 Filed: 05/12/25 Page 13 of 36 PageID #:12229



        Because Clearview did not collect or know the actual identity of persons in its biometric

database, individual notice to potential class members was not possible. Accordingly, on July 3, 2024,

Epiq created a settlement website that contained relevant litigation documents, frequently asked

questions, and instructions for opting out of, objecting to, or filing a claim under the settlement. Epiq

also established an automated telephone system through a toll-free number that provided callers with

information about the settlement, as well as a postal mailing address.

        Epiq then employed several different forms of notice to reach class members. First, Epiq

established a digital advertising campaign on select advertising networks and social media platforms

designed to encourage participation by class members. This advertising campaign reached more than

372 million impressions across each platform between July 25 and September 5.




        Next, Epiq acquired sponsored search listings that linked directly to the settlement website on

the three most frequently visited internet search engines: Google, Yahoo!, and Bing. When search engine

visitors searched selected common keyword combinations related to the settlement, the sponsored

search listing was displayed at the top of the visitor’s website page prior to the search results or in the

upper right-hand column of the web-browser screen. These search listings were displayed 23,714

                                                    13
 Case: 1:21-cv-00135 Document #: 647 Filed: 05/12/25 Page 14 of 36 PageID #:12230



times between July 25 and September 5. Finally, a party-neutral informational release was issued

nationwide over PR Newswire’s US1 and Hispanic newslines in English and Spanish to approximately

5,000 general media (print and broadcast) outlets, as well as approximately 4,500 websites, online

databases, internet networks, and social media platforms.

         By Epiq’s estimation, approximately 70% of adults aged eighteen and older in the United

States were reached through the notice plan, with an average frequency of 2.6 times each. (Dkt. 621.)

Epiq also estimates that the final number of valid claims will be between 65,000 and 125,000, with

1,008 requests for exclusion. (Id.) Sixteen objections were filed by class members through this notice

plan. A coalition of state attorneys general led by Vermont (“Amici States”) also filed an amicus brief

objecting to the settlement agreement. 6 (Dkt. 609.)

         After the notice and claims submission period closed, Plaintiffs filed a motion for final

approval of the settlement on January 16, 2025. On January 30, 2025, the Court held a hearing on the

motion, at which time it granted Plaintiffs’ motion appointing the Honorable Sidney I. Schenkier (ret.)

as Settlement Master. (Dkt. 630.)

         For the reasons set forth below, the Court overrules the objections and grants Plaintiffs’

motion for final approval of the settlement.

Legal Standard

         A court may approve a class action settlement if: (1) it is able to certify the settlement class;

(2) the class was provided adequate notice and a public hearing; and (3) it determines that the

settlement is “fair, reasonable, and adequate.” In re TikTok, Inc., Consumer Priv. Litig., 617 F. Supp. 3d

904, 921 (N.D. Ill. 2022) (Lee, J.) (citing Fed. R. Civ. P. 23(e)(1)–(2)).




6 Amici States include: Vermont, Arizona, California, Colorado, Connecticut, Delaware, Hawaii, Indiana, Iowa, Kansas,

Maine, Massachusetts, Michigan, Minnesota, Nebraska, Nevada, New Jersey, New York, Oregon, Rhode Island,
Tennessee, Washington, and the District of Columbia.

                                                         14
 Case: 1:21-cv-00135 Document #: 647 Filed: 05/12/25 Page 15 of 36 PageID #:12231



Discussion

    A. Class certification

        A plaintiff seeking class certification has the burden of showing that their proposed class meets

the requirements of Rule 23(a) and the requirements for one of the three types of classes identified in

Rule 23(b). Id. at 922 (citing Dancel v. Groupon, Inc., 949 F.3d 999, 1004 (7th Cir. 2019)). Rule 23(a)

requires a plaintiff to show that: “(1) the class is so numerous that joinder of all members is

impracticable; (2) there are questions of law or fact common to the class; (3) the claims or defenses of

the representative parties are typical of the claims or defenses of the class; and (4) the representative

parties will fairly and adequately protect the interests of the class.” Fed. R. Civ. P. 23(a). Plaintiffs

also must show that “the questions of law or fact common to the class members predominate over

any questions affecting only individual members, and that a class action is superior over other available

methods for fairly and efficiently adjudicating the controversy.” Fed. R. Civ. P. 23(b)(3).

        As the Court concluded in its preliminary approval order, Plaintiffs have satisfied these Rule

23(a) and (b) requirements. Accordingly, the Court certifies the class for settlement purposes.

            1. Numerosity, commonality, and typicality

        The numerosity, commonality, and typicality requirements of Rule 23(a) are readily satisfied

here. The expected class size of 65,000–125,000 members satisfies the numerosity requirement

because it is too large for joinder to be practicable. See Anderson v. Weinert Enters., Inc., 986 F.3d 773,

777 (7th Cir. 2021) (noting that “a forty-member class is often regarded as sufficient to meet the

numerosity requirement” by courts in the Seventh Circuit). As to commonality, there are numerous

“common contention[s] . . . capable of classwide resolution” of which the “determination of [their]

truth or falsity will resolve an issue that is central to the validity of each one of the claims in one

stroke.” Wal-Mart Stores, Inc. v. Dukes, 564 U.S. 338, 349–50, 131 S. Ct. 2541, 2551, 180 L. Ed. 2d 374


                                                     15
 Case: 1:21-cv-00135 Document #: 647 Filed: 05/12/25 Page 16 of 36 PageID #:12232



(2011). Namely, Plaintiffs allege that Defendants are liable for violations of BIPA and several state

statutes and common law, and for unjust enrichment, for the scraping and storing of Class Members’

biometric facial images from the internet without consent or compensation, resolution of which would

be the same for each Class Member. As to typicality, Plaintiffs’ claims “share the same essential

characteristics” with those of the Class Members because each named plaintiff suffered the same

statutory privacy violation and tortious conduct as the Class Members. Howard v. Cook Cnty. Sheriff’s

Off., 989 F.3d 587, 606 (7th Cir. 2021).

            2. Adequacy of representation

        The only Rule 23(a) factor in dispute is the requirement that class representatives fairly and

adequately represent the class. Fed. R. Civ. P. 23(a)(4); see Howard, 989 F.3d at 609. The purpose of

this requirement is to protect the rights of absent class members by “uncover[ing] conflicts of interest

between named parties and the class they seek to represent” and to “screen[ ] for conflicts of interest

among class members.” Howard, 989 F.3d at 609 (quoting Amchem Prods., Inc. v. Windsor, 521 U.S. 591,

625, 117 S. Ct. 2231, 2236, 138 L. Ed. 2d 689 (1997)). The adequacy-of-representation requirement

“is composed of two parts: the adequacy of the named plaintiff’s counsel, and the adequacy of

representation provided in protecting the different, separate, and distinct interest of the class

members.” In re AT & T Mobility Wireless Data Servs. Sales Litig., 270 F.R.D. 330 (N.D. Ill. 2010) (St.

Eve, J.) (quoting Retired Chicago Police Ass’n v. City of Chicago, 7 F.3d 584, 598 (7th Cir. 1993)).

        As the Court found in its preliminary approval of the settlement, Lead Class Counsel’s

representation of the class and that of Plaintiffs is adequate. As described further in Plaintiffs’ petition

for fees and later in the Court’s evaluation of the opinion of competent counsel, Lead Class Counsel

has shown its significant experience in class-action litigation and settlement throughout the case, with

no demonstrated conflicts with the interest of the class members. (Dkt. 583.) And since being added



                                                     16
 Case: 1:21-cv-00135 Document #: 647 Filed: 05/12/25 Page 17 of 36 PageID #:12233



to the case in May 2024, each of the plaintiffs has satisfactorily participated in the litigation and

represented the class. 7

         Two objectors disagree. As to representation of counsel, the Amici States protest that the

39.1% attorney’s fee award is “significantly higher than normally approved in common fund cases like

this.” (Dkt. 609.) But this argument is in opposite to Seventh Circuit caselaw, where courts have

routinely provided fee awards of 30% or greater of a common fund. 8 The fee award is also

commensurate with the length and complexity of the case and the significant amount of time and

effort Lead Class Counsel expended in their representation of the Settlement Class. See Sutton v.

Bernard, 504 F.3d 688, 693 (7th Cir. 2007) (explaining that “the market price for legal fees depends in

part on the risk of nonpayment a firm agrees to bear, in part on the quality of its performance, in part

on the amount of work necessary to resolve the litigation, and in part on the stakes of the case”)

(internal quotations omitted).

         Separate from the fee award, objectors Weissman and Claypool argue on behalf of the

Nationwide Class that the interests of Plaintiffs, all of whom are subclass members, and the interests

of the Nationwide Class are in conflict. (Dkt. 590.) First, Weissman and Claypool argue that the

availability of injunctive relief is likely more significant for Nationwide class members because they,

unlike the subclass members, do not allege claims for additional monetary damages under state law.

Second, the objectors argue that the pro rata distribution of shares of the Settlement Fund—ten to

the Illinois Subclass, five to the California, New York, and Virginia subclasses, and one to the

Nationwide Class—reflects inadequate representation because there is not a named plaintiff



7 Plaintiffs filed a second amended complaint on August 22, 2022.          (Dkt. 428.) Plaintiffs then filed a third amended
complaint on May 13, 2024—the operative complaint—substituting Plaintiffs David Mutnick, Steven Vance, Mario
Calderon, Anthony Hall, Isela Carmean, Shelby Zelonis Roberson, Andrea Vestrand, and Aaron Hurvitz for Rodell
Sanders, Gerard Dache, Eric Gould, and Jordan Orlando as class representatives. (Dkt. 573.)
8 See, e.g., Gaskill v. Gordon, 160 F.3d 361 (7th Cir. 1998) (approving a fee of 38% of a $20 million-dollar common fund);

Charvat v. Valente, 12-CV-05746, 2019 WL 5576932, at *11 (N.D. Ill. Oct. 28, 2019) (approving a fee of 33.99%); Dkt. 583
(collecting cases).

                                                            17
 Case: 1:21-cv-00135 Document #: 647 Filed: 05/12/25 Page 18 of 36 PageID #:12234



representing the Nationwide Class. Finally, the objectors argue that because Plaintiffs were named

after the settlement was reached, they could not have meaningfully participated in the result to be

deserving of 50 pro rata shares of the Settlement Fund and the $1,500 incentive award.

        But general concerns, unsupported by evidence, do not a conflict of interest make. As the

Court explains in more detail later in this opinion, the possibility of injunctive relief is not determined

by the desires of the class members but by the strength and weaknesses of the bases for the relief.

While some members of the Nationwide Class may have a strong interest in receiving injunctive relief

under the settlement, that possibility is foreclosed by the fact that the complaint provides no basis for

such relief. The same is true for the pro rata distribution of shares across each subclass, which was

not the product of shadowy, backroom negotiations between Plaintiffs and Defendants but reflects

the strength and viability of the respective Illinois, California, Virginia, New York, and nationwide

claims. Finally, not only are incentive awards “justified when necessary to induce individuals to

become named representatives” as is the case here, In re Synthroid Mktg. Litig., 264 F.3d 712, 718 (7th

Cir. 2001), Weissman and Claypool do not provide any factual allegations to support their claim that

Plaintiffs have not provided representation deserving of such an award.

        For these reasons, the Court finds that Plaintiffs and Lead Class Counsel fairly and adequately

represent the class.

            3. Rule 23(b)(3) factors: predominance and superiority

        Rule 23(b)(3) requires that “questions of law or fact common to class members predominate

over any questions affecting only individual members, and that a class action is superior to other

available methods for fairly and efficiently adjudicating the controversy.” Fed. R. Civ. P. 23(b)(3).

The predominance inquiry requires the Court to “understand what the plaintiffs will need to prove

and [to] evaluate the extent to which they can prove their case with common evidence.” In re Allstate

Corp Sec. Litig., 966 F.3d 595, 603 (7th Cir. 2020). That is, “it is the method of determining the answer

                                                      18
 Case: 1:21-cv-00135 Document #: 647 Filed: 05/12/25 Page 19 of 36 PageID #:12235



and not the answer itself that drives the predominance consideration.” Gorss Motels, Inc. v. Brigadoon

Fitness, Inc., 29 F.4th 839, 845 (7th Cir. 2022). Bell v. PNC Bank, Nat. Assn., 800 F.3d 360, 378 (7th

Cir. 2015) (“[A] common question predominates over individual claims if a failure of proof on the

common question would end the case and the whole class will prevail or fail in unison.”) (internal

quotation marks omitted). Superiority is satisfied when a class action is “superior over other available

methods for fairly and efficiently adjudicating” the case, keeping in mind “the class members’ interests

in individually controlling the prosecution . . . of separate actions” and “the extent and nature of any

litigation concerning the controversy already begun.” Fed. R. Civ. P. 23(b)(3).

        Both predominance and superiority are satisfied here, a finding which no objector disputes.

As to predominance, all class members allege injury due to Clearview’s image scraping, allegations that

are readily amenable to generalized proof of this conduct. And to superiority, this settlement

represents the resolution of eleven consolidated class action disputes that were filed in four different

districts on behalf of a class that encompasses most of the country. Given the cost and complexity

of investigating and litigating the conduct at issue in this case, individual class members would likely

have had little interest in prosecuting Clearview on their own. See California Pub. Employees’ Ret. Sys. v.

ANZ Sec., Inc., 582 U.S. 497, 513, 137 S. Ct. 2042, 2054, 198 L. Ed. 2d 584 (2017) (“The very premise

of class actions is that ‘small recoveries do not provide the incentive for any individual to bring a solo

action prosecuting his or her rights.’”) (quoting Amchem, 521 U.S. at 617).

        For these reasons, the Court finds that both predominance and superiority are satisfied as

required by Rule 23(b)(3) and certifies the Settlement Class for the purposes of settlement.

    B. Rule 23’s notice requirement

        To approve the settlement, the Court must next find that the notice plan provided to the class

“the best notice that is practicable under the circumstances, including individual notice to all members

who can be identified through reasonable effort.” Fed. R. Civ. P. 23(c)(2)(B); see also Fed. R. Civ. P.

                                                    19
 Case: 1:21-cv-00135 Document #: 647 Filed: 05/12/25 Page 20 of 36 PageID #:12236



23(e)(1)(B) (requiring the court to “direct notice in a reasonable manner to all class members who

would be bound by the proposal if giving notice is justified”). Neither Rule 23 nor due process

requires that every class member actually receives notice. Instead, “notice suffices if it is reasonably

calculated to reach the absent parties.” 3 WILLIAM B. RUBENSTEIN, NEWBERG ON CLASS ACTIONS §

8:36 (5th ed. 2011) (updated 2024).

        The Court finds that Plaintiffs have satisfied these requirements. As explained above, Epiq’s

notice plan was broad and comprehensive, consisting of digital advertising, sponsored search listings,

and informational releases, and the establishment of a dedicated settlement website, a toll-free

telephone number, and a mailing address. All told, Epiq estimates that approximately 70% of adults

aged eighteen and older in the United States were reached through the notice plan, a figure that

comports with the standard recommended by the Federal Judicial Center. See FED. JUDICIAL

CTR., JUDGES’ CLASS ACTION NOTICE AND CLAIMS PROCESS CHECKLIST AND PLAIN LANGUAGE

GUIDE 3 (2010), https://www.fjc.gov/sites/default/files/2012/NotCheck.pdf (last accessed March

18, 2025).

        Three individuals—Kesselbrenner, Lee, and De Leon—object to the notice plan as being

inadequate. Kesselbrenner argues that providing meaningful notice to such a large nationwide class

is inherently impossible. (Dkt. 586.) Similarly, Lee argues that the fact that she and four members of

her social circle did not see or utilize any of the options provided by the notice plan means that notice

was insufficient and that notice instead “should have been mailed to every US address.” (Dkt. 599.)

Finally, De Leon argues that the banner advertisements were not sufficiently descriptive of the alleged

harm and are generally an ineffective method of notice due to low engagement with such

advertisements. (Dkt. 591.) De Leon further argues that the use of sponsored search listings

inappropriately places the burden on individuals to take action to prompt the corresponding banner

advertisement. (Id.)


                                                   20
 Case: 1:21-cv-00135 Document #: 647 Filed: 05/12/25 Page 21 of 36 PageID #:12237



        None of these objections support a finding that the notice plan was insufficient. To accept

the contention that it is impossible to provide meaningful notice to nationwide classes would be to

foreclose class action as a method of litigation despite the increasing interconnectedness of our digital

society. Nor would direct notice to every US address been practicable under the circumstances given

the size of the class and the fact that Clearview did not possess address information for the face images

in its database. See Mullins v. Direct Digital, LLC, 795 F.3d 654, 665 (7th Cir. 2015) (explaining that

Rule 23(c)(2)(B) “does not insist on actual notice to all class members in all cases” and in fact

“recognizes it might be impossible to identify some class members for purposes of actual notice”)

(emphasis in the original). And while banner advertisements and sponsored search listings are in no

way a silver bullet for ensuring notice when class members’ names and address are not known or not

knowable with reasonable effort, Epiq’s notice plan used a variety of different methods and media to

reach class members to overcome such limitations. Id. (noting that “courts may use alternative means

such as notice through third parties, paid advertising, and/or posting in places frequented by class

members” to meet the due process requirements that underpin Rule 23(c)(2)(B)).

        For these reasons, the Court finds that the notice program was adequate under Rule 23.

    C. Rule 23(e) fairness inquiry

            1. Legal standard

        The Court now turns to the fairness of the settlement itself. To evaluate the fairness of a

settlement, a court must consider “the strength of plaintiffs’ case compared to the amount of

defendants’ settlement offer, an assessment of the likely complexity, length and expense of the

litigation, an evaluation of the amount of opposition to settlement among affected parties, the opinion

of competent counsel, and the stage of the proceedings and the amount of discovery completed at the

time of settlement.” Synfuel Techs., Inc. v. DHL Express (USA), Inc., 463 F.3d 646, 653 (7th Cir. 2006)


                                                   21
 Case: 1:21-cv-00135 Document #: 647 Filed: 05/12/25 Page 22 of 36 PageID #:12238



(citing Isby v. Bayh, 75 F.3d 1191, 1199 (7th Cir. 1996)). This analysis does not “focus on individual

components of the settlement, but rather views it in its entirety in evaluating its fairness.” Isby, 75 F.3d

at 1199.

        When conducting this analysis, courts consider the facts “in the light most favorable to the

settlement.” Id. At the same time, courts must be mindful that, when sizeable class action settlements

are concerned, the parties may have incentives to “sell out the class” by accepting a “deal that

promotes the self-interest of both class counsel and the defendant[s]” at class members’ expense.

Eubank v. Pella Corp., 753 F.3d 718, 720 (7th Cir. 2014). As a result, the court must act akin to “a

fiduciary of the class, who is subject therefore to the high duty of care that the law requires of

fiduciaries.” Pearson v. NBTY, Inc., 772 F.3d 778, 780 (7th Cir. 2014) (internal quotation marks

omitted).

            2. Strength of Plaintiffs’ case and the value of the settlement

        The first and “most important” factor in the fairness inquiry asks the Court to balance the

strength of the merits of Plaintiffs’ case against the value that they will receive from the settlement.

Wong v. Accretive Health, Inc., 773 F.3d 859, 864 (7th Cir. 2014). In the past, this inquiry required district

courts to “quantify the net expected value of continued litigation” by “estimating the range of possible

outcomes and ascribing a probability to each point on the range.” Reynolds v. Beneficial Nat. Bank, 288

F.3d 277, 284–85 (7th Cir. 2002). But recently, the Seventh Circuit has moved away from this

formulaic, quantitative analysis and endorsed an examination of “indicia of trustworthiness”—such as

third-party mediation, extensive confirmatory discovery, and hard-fought, arm’s-length negotiation—

in making this determination. In re TikTok, Inc., 617 F. Supp. 3d at 933–34 (collecting cases applying

this method of scrutiny).

        Indicia of trustworthiness and good faith so permeate the prior litigation and the settlement

agreement before the Court that the “mechanical mathematic valuation exercise” required by Reynolds

                                                         22
 Case: 1:21-cv-00135 Document #: 647 Filed: 05/12/25 Page 23 of 36 PageID #:12239



is not necessary. As described above, the settlement was the result of extensive settlement negotiations

overseen by Judge Andersen, a well-respected former federal judge and experienced mediator. These

negotiations were not only characterized by zealous advocacy by both Plaintiffs and Defendants on

behalf of their respective interests but also clear-eyed awareness of the structural barriers that stood

in the way of injunctive and monetary relief for the Settlement Class. The contentiousness of the

motion practice and discovery prior to settlement discussions is also indicative of the entrenchment

of both sides in their respective positions.

        These indicia of trustworthiness do not absolve the Court of its responsibility to carefully

examine the value of the settlement, particularly in light of the arguments raised by objectors. The

objections regarding the value of the settlement fall into three camps: the lack of nationwide or state-

specific injunctive relief, the uncertainty of the amount of compensation provided by the Settlement

Stake, and the breadth of the release. The Court considers each objection in turn, finding that they

do not impact the Court’s assessment that the value of the settlement is proportionate to the strength

of Plaintiffs’ case.

                 a. Lack of injunctive relief

        The most common objection brought by the individual objectors and Amici States is that the

Court should not approve the settlement because it does not include injunctive relief, namely in the

form of a nationwide injunction or a California-specific injunction preventing Clearview from future

operations. But the wishes of the objectors at settlement must be balanced against the realities of the

case during litigation. As the Seventh Circuit has consistently made clear, “[t]he essence of settlement

is compromise.”        E.E.O.C. v. Hiram Walker & Sons, Inc., 768 F.2d 884, 889 (7th Cir. 1985).

Accordingly, a settlement should not be rejected as unfair “solely because it does not provide a

complete victory to the plaintiffs,” Isby, 75 F.3d at 1200, but instead be evaluated based on an estimate

of the likely outcome of a trial. Eubank v. Pella Corp., 753 F.3d 718, 727 (7th Cir. 2014).

                                                   23
 Case: 1:21-cv-00135 Document #: 647 Filed: 05/12/25 Page 24 of 36 PageID #:12240



        The sixteen counts in the amended consolidated class action complaint reflect not only the

size and scope of Clearview’s database but also the nascency of state biometric data privacy

protections. Accordingly, and as described by Plaintiffs in their motion, the relief provided by the

settlement depended on the strength and weaknesses of each of Plaintiffs’ claims as measured by the

extent to which the cause of action directly targeted data privacy and biometrics.

        Of the causes of action brought under the statute, BIPA is the only one that directly targets

data privacy and biometrics. Furthermore, the statute provides for statutory damages, actual damages,

and injunctive relief. As such, the seven BIPA counts emerged as the strongest claims in the

complaint. The claims brought under the other laws were more square-peg-round-hole in nature.

Unlike those brought under BIPA, the California, Virginia, and New York law claims were brought

under state statutory and common law theories that had yet to serve as a basis for judgment in a case

involving facial recognition technology. The novel and untested nature of these claims made them

comparatively weaker than those brought under BIPA. And unbound by any state’s law, the unjust

enrichment and declaratory judgment claims formed an even weaker basis for relief, let alone

nationwide relief.

        In sum, Plaintiffs complaint only provided a basis for injunction under the laws of four states,

with relief under BIPA being the most certain. But even if Plaintiffs succeeded in their BIPA claim,

the statute does not expressly intend to operate extraterritorially such that it could be used as the basis

for nationwide or state-specific injunctive relief. See Avery v. State Farm Mut. Auto. Ins. Co., 216 Ill.2d

100, 296 Ill.Dec. 448, 835 N.E.2d 801, 852 (Ill. 2005). As the Court explained in its prior opinion

granting in part and denying in part a motion to dismiss brought by Clearview, Dkt. 279, the critical

question in determining extraterritoriality is whether the circumstances relating to the violations

occurred “primarily” and “substantially” in Illinois. Avery, 216 Ill.2d at 187. This is a fact-intensive

inquiry that requires courts to look to “the residency of the plaintiff, the location of harm,


                                                    24
 Case: 1:21-cv-00135 Document #: 647 Filed: 05/12/25 Page 25 of 36 PageID #:12241



communications between parties (where sent and where received), and where a company policy is

carried out.” Rivera v. Google Inc., 238 F. Supp. 3d 1088, 1101 (N.D. Ill. 2017) (Chang, J.).

        The resolution of the ACLU’s case against Clearview further shifted the options for injunctive

relief under BIPA. See ACLU Settlement Agreement, supra note 5. Among other relief, the settlement

applied a permanent nationwide injunction banning Clearview from granting paid or free access to its

database to any private entity or individual except in compliance with BIPA or to any individual

government employee not acting in their official capacity, effectively limiting Clearview’s clientele to

federal and state government agencies and their contractors. The settlement also placed a five-year

injunction prohibiting Clearview from granting either paid or free access to its database to Illinois

state, county, local, or other government agencies or to private entities located in the state. Finally,

the settlement established an opt-out program for Illinois residents, through which a resident, after

uploading a photograph of themselves through an online form, could request that Clearview block

any search results that include photographs of the resident and prevent future collection of

photographs.

        Contrary to the arguments raised by objectors, the proposed settlement does not rely on the

ACLU settlement as collateral relief to justify not including injuncting relief within its own terms.

Instead, given the expansive reach and scope of the ACLU settlement, the settlement recognizes that

any additional injunctive relief stemming from BIPA would be a null set that would leave the

Settlement Class in largely the same position as they were before the settlement. Including relief

premised on such empty words would not strengthen the settlement, as the objectors argue, but

instead call its fairness into question. See In re Subway Footlong Sandwich Mktg. & Sales Pracs. Litig., 869

F.3d 551, 556 (7th Cir. 2017) (“[I]f the class representatives have agreed to a settlement that provides

meaningless relief to the putative class, the district court should refuse to certify or, alternatively,

decertify the class.”); In re Walgreen Co. S’holder Litig., 832 F.3d 718, 724 (7th Cir. 2016) (“No class


                                                    25
 Case: 1:21-cv-00135 Document #: 647 Filed: 05/12/25 Page 26 of 36 PageID #:12242



action settlement that yields zero benefits for the class should be approved, and a class action that

seeks only worthless benefits for the class should be dismissed out of hand.”). As such, the lack of

nationwide or state-specific injunctive relief does not undermine the fairness of the settlement.

                b. Certainty of monetary relief

        The second major objection to the fairness of the settlement relates to the fact that monetary

relief is provided through an equity stake with an unspecified value rather than an immediate, direct

payment to the Settlement Class at the time of settlement. Objectors Wang, De Leon, Younge, and

Weissman and Claypool object that the settlement relief is uncertain because it does not guarantee a

specific amount of compensation for Class Members and provides “coupon” compensation that

requires Class Members to do business with Clearview again to get any monetary benefit from the

settlement. (Dkts. 581, 591, 593; 590.) Relatedly, Objector Lee argues that the settlement is inadequate

because it does not offer a range of what the claims will be worth from a dollar amount perspective.

(Dkt 599.) The Amici States raise a similar objection, arguing that the monetary relief is inadequate

because Plaintiffs do not know “the true valuation of Clearview and whether there will be any

monetary payment to class members at all.” (Dkt. 609.)

        Though novel in the context of past BIPA settlements, the concept of equity- or security-

based monetary relief is not a new idea. See Uhl v. Thoroughbred Tech. & Telecommunications, Inc., 309 F.3d

978, 987 (7th Cir. 2002) (affirming the district court’s approval of a class-action settlement premised

on the issuance of securities to class members). Just as necessity is the mother of invention, the

decision to premise monetary relief on a 23% equity stake in Clearview was driven by the practical

realities of the case. Judge Andersen describes Clearview’s precarious financial condition in detail in

his report on the settlement negotiations, saying:

             I also was convinced that even a ‘victory’ by the Class after a long and

             expensive trial would not necessarily lead to a meaningful recovery for the

                                                     26
 Case: 1:21-cv-00135 Document #: 647 Filed: 05/12/25 Page 27 of 36 PageID #:12243



              Class. Clearview did not have the funds to pay a multi-million-dollar

              judgment. Indeed, there was great uncertainty as to whether Clearview would

              even have enough money to make it through to the end of trial, much less

              fund a judgment. In addition, Clearview explained, and substantiated, that

              certain of its convertible note holders possessed security interest in the

              technology being used by Clearview. This meant that, in the event of a

              Clearview bankruptcy – during litigation or after trial – the holders of those

              security interests would have priority to any claim by the Class after a

              judgment, leaving little to nothing with which to satisfy a judgment.

(Dkt. 578, Ex. B.)         Because of Clearview’s evident financial constraints, as substantiated by

information on Clearview’s “financial position, revenues, and capitalization,” both parties agreed at

the outset of settlement discussions that “any viable class action settlement would need to include the

Class receiving a meaningful equity stake in Clearview.” Id. The choice was clear: secure the

Settlement Class monetary relief in the form of an equity stake in Clearview, or risk leaving litigation

victorious, but empty-handed.

         Nor is this 23% figure an empty, speculative gesture. As of January 2024, Clearview’s value

was estimated to be approximately $225 million dollars, making the Settlement Stake worth $51.75

million dollars. Granted, the nature of an equity stake is that it could shrink or grow depending on

the performance of the company. But as Amici States themselves note in their objection, Clearview

is bullish about the company’s potential growth based on the available market of federal, state, and

local agencies. 9 And even if this valuation were to remain unchanged, the 23% equity stake is



9 See Dkt. 609. (citing Sam Blum, Clearview AI’s Founder on the Company’s Controversial Beginnings and Massive

Growth, INC. MAGAZINE (Aug. 12, 2024), https://www.inc.com/sam-blum/clearview-ais-founder-on-companys-
controversial-beginnings-massive-growth-since.html (in which Clearview co-founder Hoan Ton-That estimated that
Clearview could become “a billion-plus or $2 billion annual recurring revenue company” in the next five or ten years)).

                                                         27
 Case: 1:21-cv-00135 Document #: 647 Filed: 05/12/25 Page 28 of 36 PageID #:12244



significant compared to similar BIPA settlements. 10 Furthermore, classifying this equity stake as

“coupon” relief, as argued by Weissman and Claypool in their objection, mischaracterizes the nature

of the Settlement Stake, as the Settlement Class is neither receiving a coupon or voucher for

discounted services with Clearview. See In re Sw. Airlines Voucher Litig., 799 F.3d 701, 706 (7th Cir.

2015) (describing “coupon settlements” as those that provide recovery through “‘vouchers’ (good for

an entire product) and ‘coupons’ (good for price discounts)”).

         Still, puffery and the vagaries of the free market are seldom enough to hang one’s hat on,

particularly in the context of a settlement agreement. That is why the settlement does not leave the

administration of this equity stake to chance but instead appoints Judge Schenkier as Settlement

Master. (Dkt. 625.) As Settlement Master, Judge Schenkier will be responsible for overseeing the

Settlement Stake and acting on behalf of the Settlement Class. The Court notes that no objection has

been made to the appointment of a Settlement Master or the selection of Judge Schenkier for that

role, which reflects the appropriateness of the position’s scope and Judge Schenkier’s qualifications.

                   c.   Breadth of the release

         Weissman and Claypool object to the breadth of the release of claims provided by the

settlement, arguing that the settlement releases the Macy’s Defendants without any obligation for them

to contribute to the Settlement Fund. (Dkt. 590.) But this argument runs into the now familiar

buzzsaw that is the need to compare the provided relief with the strength of Plaintiffs’ claims. Here,

as outlined in Plaintiffs’ motion for final approval and response to objections, discovery demonstrated

that though a client of Clearview, Macy’s did not itself possess any biometric data or take any active



10 See, e.g., In re Facebook Biometric Information Privacy Litigation, N.D. Cal. No. 15-cv-3747-JD ($650 million settlement,

representing less than %1 of Facebook’s market value at the time of settlement); Rivera v. Google, LLC, Cook Cnty. Cir. Ct.
No. 2019-CH-990 ($100 million settlement, representing 0.01% of Google’s value at the time of settlement); In re Tiktok,
N.D. Ill. No. 20-cv-04699 ($92 million settlement, representing less than %1 of TikTok’s estimated valuation at the time
of settlement); Boone v. Snap Inc., Cir. Ct. DuPage Cnty. Ill. No. 2022-LA-708 ($35 million settlement, representing less
than 1% of Snapchat’s market capitalization at the time of settlement).

                                                            28
 Case: 1:21-cv-00135 Document #: 647 Filed: 05/12/25 Page 29 of 36 PageID #:12245



steps to possess or collect the biometric data in Clearview’s database. (Dkt. 621.) Clearview’s contract

with Macy’s also provided that Clearview would not include any biometric data of Illinois residents

while providing services to Macy’s. (Id.) These facts greatly weaken the strength of the claims against

Macy’s, rendering a requirement that they contribute to the Settlement Fund suspect at best.

        Weissman and Claypool also object to the language of the release itself as being overbroad

because it requires class members to release “any other claim arising under any federal law, state law,

or common law, including state law privacy claims.” (Dkt. 590.) But as the Seventh Circuit notes, “a

court may release not only those claims alleged in the complaint but also a claim based on the identical

factual predicate as that underlying the claims in the settled class action even though the claim was not

presented and might have not been presentable in the class action.” Williams v. Gen. Elec. Capital Auto

Lease, Inc., 159 F.3d 266, 273–74 (7th Cir. 1998); see also id. at 274 (“It is not at all uncommon for

settlements to include a global release of all claims past, present, and future, that the parties might

have brought against each other.”). As such, neither of these objections impact the Court’s evaluation

of the fairness of the settlement.

            3. Other settlement factors

        The remaining settlement factors also support a finding that the settlement is fair, reasonable,

and adequate. See Wong, 773 F.3d at 863.

        Given the nature of the claims and number of putative class members, the complexity, length,

and expense of future litigation in this case would be enormous. The parties were in the thick of fact

discovery before they began discussing settlement in earnest in 2023, with expert discovery, class

certification, and summary judgment yet to occur. And as described by Judge Andersen in his report

on the settlement negotiations, both sides were confident in the strength of their legal and substantive

arguments, a level of entrenchment that all but guaranteed lengthy and adversarial litigation at both

the trial and appellate level. Such litigation also would not have been confined to one court. Because

                                                   29
 Case: 1:21-cv-00135 Document #: 647 Filed: 05/12/25 Page 30 of 36 PageID #:12246



the eleven cases were consolidated into one MDL, once the Court completed pretrial proceedings,

each individual case would have been returned to their original courts for trial preparation and trial.

See Lexecon Inc. v. Milberg Weiss Bershad Hynes & Lerach, 523 U.S. 26, 33–35, 118 S. Ct. 956, 961–62, 140

L. Ed. 2d 62 (1998) (explaining the process for returning cases under 28 U.S.C. § 1407). All the while,

the risk of Clearview going bankrupt defending this litigation loomed large, an outcome that would

have denied class members the possibility of any monetary relief.

        The relative dearth of opposition to the settlement and the reaction of class members weighs

in favor of approval as well. After 70% of adults aged eighteen and older in the United States were

reached through the notice program, with an average frequency of 2.6 times each, only sixteen

objections and 1,008 requests for exclusion were filed by class members. This level of opposition is

remarkably low given the size of the class, the intense media scrutiny applied to Clearview and this

litigation, and the breadth of the notice plan. And even taking into account the objections raised by

Amici States in their brief, the substance of these objections largely concerns requests for injunctive

and monetary relief that was improbable through litigation given the relative strength of the claims

and Clearview’s financial limitations.

        Additionally, the opinion of competent class counsel supports approval of the proposed

settlement. See Isby, 75 F.3d at 1200 (explaining that courts may “rel[y] upon affidavits that outline the

qualifications of class counsel and perhaps more importantly upon its own observations over the

course of the litigation as to the quality of the representation provided to the class”). Lead Class

Counsel has extensive experience litigating and settling class actions of this size, scope, and complexity.

This experience is further validated by the Court’s own observations throughout the course of this

five-year litigation and those of Judge Andersen during settlement negotiations. See, e.g., Dkt. 578, Ex.

B, Dkt. 583, Ex. A, Dkt. 621.




                                                    30
 Case: 1:21-cv-00135 Document #: 647 Filed: 05/12/25 Page 31 of 36 PageID #:12247



        The last factor—“the stage of the proceedings and the amount of discovery completed”—

asks “how fully the district court and counsel [were] able to evaluate the merits of plaintiffs’ claims”

before reaching the settlement. In re AT & T, 270 F.R.D at 350. Here, settlement was reached over

four years into litigation. By the time fact discovery was stayed in June 2023 in light of the parties’

ongoing settlement efforts, all parties had completed document production, Plaintiffs had retained

experts to evaluate this production, and depositions of the class representatives and Defendants’

witnesses had been noticed. This information gathering was then supplemented by the over a years’

worth of intensive settlement negotiations, during which the relative strength of each sides’ arguments

and Clearview’s financial condition was heavily scrutinized by the parties. As such, both the Court

and the parties had ample time to evaluate the merits of Plaintiffs’ claims before reaching the

settlement before the Court today.

            4. Policy objections to the settlement

        Though fair, reasonable, and adequate when examined within its four corners, the settlement

agreement leaves unresolved the question that motivated this multidistrict litigation: whether the

collection of publicly available biometric information for use by private or government entities—even

when done in accordance with the law—is reconcilable with constitutional privacy rights.

        For the objectors to this settlement, the answer to this question is a resounding “no.” Amici

States argue that the settlement “has severe flaws that undermine consumers’ fundamental right to

privacy” and that the 23% Settlement Stake will not “redirect the company’s moral compass.” (Dkt.

609.) Objector De Leon picks up this baton, stating that “Clearview’s business practices erode long-

established rights of personal privacy and autonomy, supercharging governments’ power to surveil

marginalized groups and threatening free expression.” (Dkt. 590.) And Objector Younge decries

Clearview’s actions and practices as “illegal and immoral” and “worr[ies] for the safety of [her]self and

[her] community because it feels like companies like Clearview can pull information from anywhere

                                                     31
 Case: 1:21-cv-00135 Document #: 647 Filed: 05/12/25 Page 32 of 36 PageID #:12248



without my knowledge or consent.” (Dkt. 593.) For Objector Lee, these privacy concerns outweigh

the monetary relief the settlement provides to the Settlement Class. “Simply put, I don’t care if

Clearview goes bankrupt,” Lee writes. (Dkt. 599.) “My concern is that mine and fellow residents

have their privacy protected. I want the bad behavior to be stopped; not to be given a tiny fraction

of the profits from it.”

         These concerns regarding the dangers of the use—and misuse—of biometric information are

not wholly without merit. According to the ACLU, “numerous studies have shown that face

recognition technology misidentifies Black people and other people of color at higher rates than white

people,” leading to higher incidence of wrongful arrest. 11 But on the other side, supporters of facial

recognition technology point to its ability to help solve crimes, including in underserved areas, and

exonerate those who have been wrongfully accused. 12

         The Court is not the first to grapple with the impact of law enforcement’s use of advanced

technologies such as facial recognition on the privacy rights of Americans. In determining whether

the use of pole cameras by police to surveil a private residence violates the Fourth Amendment

protection against unlawful search, the Seventh Circuit invited us to imagine a world of constant

surveillance:

                [W]e are steadily approaching a future with a constellation of ubiquitous

                public and private cameras accessible to the government that catalog the

                movements and activities of all Americans.                     Foreseeable expansion in


11 Nathan Freed Wessler, Police Say a Simple Warning Will Prevent Face Recognition Wrongful Arrests. That’s Just Not True, ACLU

(Apr. 30, 2024), https://www.aclu.org/news/privacy-technology/police-say-a-simple-warning-will-prevent-face-
recognition-wrongful-arrests-thats-just-not-true (noting that, to date, over twenty communities across the nation have
implemented bans on the use of facial recognition technology by government and/or law enforcement agencies); see also
Robert Williams, I Was Wrongfully Arrested Because of Facial Recognition Technology. It Shouldn’t Happen to Anyone Else, TIME
MAGAZINE (June 29, 2024), https://time.com/6991818/wrongfully-arrested-facial-recognition-technology-essay/.
12 See, e.g., Thomas Brewster, Exclusive: DHS Used Clearview AI Facial Recognition in Thousands of Child Exploitation Cold Cases,

FORBES (Aug. 7, 2023), https://www.forbes.com/sites/thomasbrewster/2023/08/07/dhs-ai-facial-recognition-solving-
child-exploitation-cold-cases/; Kashmir Hill, Clearview AI, Used by Police to Find Criminals, is Now in Public Defenders’ Hands,
N.Y. TIMES (Sep. 18, 2022), https://www.nytimes.com/2022/09/18/technology/facial-recognition-clearview-ai.html.

                                                              32
 Case: 1:21-cv-00135 Document #: 647 Filed: 05/12/25 Page 33 of 36 PageID #:12249



            technological capabilities and the pervasive use of ever-watching surveillance

            will reduce Americans’ anonymity, transforming what once seemed like

            science fiction into fact.       Constitutionally and statutorily mandated

            protections stand as critical bulwarks in preserving individual privacy vis-à-

            vis the government in this surveillance society.

United States v. Tuggle, 4 F.4th 505, 509–10 (7th Cir. 2021). Though ultimately finding that the use of

pole cameras was consistent with current Fourth Amendment jurisprudence, the Seventh Circuit

cautioned that, “barring a transformation in governing law,” courts would continue to be confronted

with these questions on the line between surveillance and the right to privacy:

            Today’s pole cameras will be tomorrow’s body cameras, ‘protracted location

            tracking using [automatic license plate readers],’ drones, facial recognition,

            Internet-of-Things and smart devices, and so much more that we cannot

            even begin to envision. New technologies of this sort will not disappear, nor

            will the complicated Fourth Amendment problems that accompany them. If

            anything, we should expect technology to continue to grow exponentially.

            And if current technologies are any indication, that technological growth will

            predictably have an inverse and inimical relationship with individual privacy

            from government intrusion, presenting serious concerns for Fourth

            Amendment protections.

Id. at 527–28.

        But unlike the court in Tuggle, it is not the role of this Court to address whether Clearview’s

past, present, or future conduct is fundamentally violative of the privacy rights provided by the federal

Constitution or state constitutions. Instead, the Court is limited to determining whether the proposed




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 Case: 1:21-cv-00135 Document #: 647 Filed: 05/12/25 Page 34 of 36 PageID #:12250



settlement is fair, reasonable, and adequate in the face of the claims brought by Plaintiffs and in its

provision of relief to the Settlement Class.

          Viewed through this limited aperture, the policy concerns raised by the objectors cannot stand

as a basis for rejecting the settlement. While individual objectors may believe that the practice of

collecting face images is illegal, they do not point to any law that Clearview’s practices currently violate.

Nor does the brief by Amici States—submitted on behalf of a coalition of twenty-two state attorneys

general—identify any such violations. This is not an omission, but a practical result of the over five

years of litigation in state and federal court seeking to ensure Clearview’s compliance with the law.

Absent any such violations, it would be a dereliction of the Court’s duty to act as a fiduciary for the

Settlement Class to reject a settlement, hard-fought and negotiated in good faith, and the relief it

provides to address concerns not at issue in the present case.

          Applying determinative effect to the policy concerns raised by objectors would also exceed

the bounds of the Court’s authority under the principles of separation of powers, namely the

prohibition on issuing advisory opinions. As Chief Justice Marshall wrote in the foundational case

Marbury v. Madison, “[i]t is emphatically the province and duty of the judicial department to say what

the law is.” 1 Cranch 137, 177, 5 U.S. 137, 177, 2 L. Ed. 60 (1803). So as not to “intrude into areas

committed to the other branches of government,” Article III of the Constitution limits the jurisdiction

of federal courts to “cases” and “controversies” presented before the courts. Flast v. Cohen, 392 U.S.

83, 94–95, 88 S. Ct. 1942, 1949–50, 20 L. Ed. 2d 947 (1968). This same limitation prohibits courts

from issuing advisory opinions on disputes that fall outside the confines of the case presently before

it. Id.

          The prohibition against advisory opinions has practical as well as theoretical merit. As noted

by the Seventh Circuit, a familiar concern with advisory opinions is that they might be “ill-informed

and unreliable because the factual record on which it was based was incomplete or hypothetical.”


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 Case: 1:21-cv-00135 Document #: 647 Filed: 05/12/25 Page 35 of 36 PageID #:12251



People of State of Ill. ex rel. Barra v. Archer Daniels Midland Co., 704 F.2d 935, 942 (7th Cir. 1983). Advisory

opinions also “promote friction with the other branches of government” by “multiplying the

occasions” on which federal courts would need to decide whether specific conduct is permissible

under law. Id. Wise to these constraints on its authority, the Court will not use the policy concerns

raised by the objectors to reject the settlement and issue what would in effect be an advisory opinion

on whether the use of facial recognition technology impermissibly erodes constitutional privacy rights.

        It is these same separation of powers principles that ensure that this settlement will not be the

last word on the constraints our society should place on the use of facial recognition technology. As

was the case in Tuggle, facial recognition is “an apt area for Congress to legislate because, as some have

noted, ‘Congress has significant institutional advantages over the courts in trying to regulate privacy

in new technologies.’” Tuggle, 4 F.4th at 528 (citing Orin S. Kerr, The Mosaic Theory of the Fourth

Amendment, 111 MICH. L. REV. 311, 313 (2012)). Notably, and to this very point, Amici States

themselves are careful to explain in their objection, “for the sake of clarity,” that though they object

to the settlement, they “do not advocate a settlement that prohibits law enforcement accessing the

Clearview database.” (Dkt. 609.) That Amici States object to the settlement’s terms but nevertheless

endorse the use of Clearview’s database by law enforcement demonstrates why it is the province of

Congress and state legislatures—not the federal courts—to enact data protection laws if these bodies

deem them necessary to curb the collection of face images by private entities such as Clearview and

the corresponding use of facial recognition technology by law enforcement agencies.

        The expansion of Clearview’s opt-out program provides an example of the necessary and

proper role of state legislatures in protecting the data privacy rights of their residents. As a result of

its settlement with the ACLU, Clearview was required to implement an opt-out program for Illinois

residents through which an individual could submit a request to be removed from Clearview’s

database. See ACLU Settlement Agreement, supra note 5. Today, this opt-out program has expanded


                                                      35
 Case: 1:21-cv-00135 Document #: 647 Filed: 05/12/25 Page 36 of 36 PageID #:12252



to twelve states including Illinois in response to those states enacting data protection laws concerning

the collection and use of biometric information. 13 These states have not waited for the Court’s

approval of this settlement to implement these programs. Nor are they constrained by the settlement

in taking further steps to protect the privacy rights of their residents. While it may be more expedient,

as suggested by several objectors, for the settlement to include a nationwide opt-out provision,

expediency cannot justify overstepping the confines of judicial power. Because such a provision both

lacks a legal claim as its basis and improperly shortcuts the deliberative and representative role of

legislatures in crafting responses to the proliferation of facial recognition technology, the Court will

not reject the settlement on those grounds or any of the other policy concerns brought by the

objectors.

Conclusion

         For the reasons set forth in this opinion, the Court finds that the proposed settlement is fair,

reasonable, and adequate pursuant to the requirements of Rule 23(e).                          And, with all three

prerequisites—class certification, notice, and fairness—satisfied, the Court grants Plaintiffs’ motion

for final approval of the settlement [621]. The Court further finds that the attorneys’ fees and incentive

awards requested by Plaintiffs are reasonable, and accordingly grants Plaintiffs’ Fee Petition [583].

IT IS SO ORDERED.

Date: 5/12/2025

                                                      Entered: _____________________________
                                                               SHARON JOHNSON COLEMAN
                                                               United States District Judge




13 These states are: California; Colorado; Connecticut; Delaware; Illinois; Iowa; Montana; Nebraska; Nevada; New

Hampshire; Utah; and Virginia. Clearview AI, Inc. Privacy Policy, CLEARVIEW AI, INC., https://www.clearview.ai/privacy-
policy (last accessed Mar. 18, 2025).

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